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Attorneys for Plaintiff


                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



 K.B., and R.C.,
                                                     Case No. 1:21-cv-00547-MDC
                     Plaintiffs,

         v.                                          PLAINTIFF’S NOTICE OF SETTLEMENT

 PROVIDENCE HEALTH PLAN,

                     Defendant.


       Plaintiffs, through their undrersigned counsel, hereby notify the Court that they gave reached

a confidential settlement agreement with the defendant. The plaintiffs anticipate filing a motion to

dismiss within sixty (60) days of the date of this notice.

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PLAINTIFFS’ NOTICE OF SETTLEMENT                                Megan E. Glor, Attorneys at Law
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                                                                     Portland, OR 97212
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       DATED this 15th day of December, 2021.

                                             Respectfully submitted,

                                             s/ Brian S. King
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                                             Of Attorneys for Plaintiffs


                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Settlement has been

sent to all parties registered to receive court notices via the Court’s CM/ECF System.


       Dated this 15th day of December, 2021.

                                             /s/ Brian S. King




PLAINTIFFS’ NOTICE OF SETTLEMENT                              Megan E. Glor, Attorneys at Law
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